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                    IN THE UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In RE:                                                 §
Jennifer Louise Robinson                               § Case No.: 24-33060
                                                       §
                                                       § Chapter:   13
                Debtor(s)                              §


               NOTICE OF DEBTOR(S)' INTENTION TO STRIP YOUR LIEN

Notice to:         JP Morgan Chase Bank NA

Regarding:         Your lien that is alleged to be secured by the following real property:
                   3111 Longhorn Circle, Manvel, TX 77578,

Priority of
the Lien
                   JP Morgan Chase (second mortgage)
that Will
be Stripped:

Jennifer Louise Robinson proposes a chapter 13 plan that terminates your lien secured by the
property located at 3111 Longhorn Circle, Manvel, TX 77578. The proposed plan alleges that the
value of the property is less than the amount owed on all liens that are senior in priority to your
lien.

You must file any objection to the termination of your lien within 28 days of the date of this
notice. If you fail to do so, the Bankruptcy Court may approve the plan without further notice. If
you do object, you must appear at the hearing on confirmation of the proposed plan.

The hearing is scheduled for 10/10/2024 at the United States Courthouse, located at 515
Rusk Street, Houston, Texas 77002, in Courtroom number 403.

You are urged to review the entire plan. The provision of the plan that would terminate your lien
is set forth below:

      4C. The following table sets forth the treatment of certain classes of secured creditors
holding a claim secured only by a security interest in real property that is the debtor(s)’ principal
residence. The Debtor alleges that the total amount of debt secured by liens that are senior in
priority to the lien held by JP Morgan Chase Bank NA exceeds the total value of the principal
residence. Accordingly, the claim will be paid distributions only as an unsecured claim.

Upon the debtor(s) completion of all payments set forth in this plan, the holder of the lien is
required to execute a full and unequivocal release of its liens, encumbrances and security
interests secured by the principal residence and to provide a copy of the release to the debtor(s)
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and their counsel. Notwithstanding the foregoing, the holder of a lien that secures post-petition
homeowners’ association fees and assessments will be allowed to retain its lien, but only to
secure (i) post-petition assessments; and (ii) other post-petition amounts, such as legal fees, if
such other post-petition amounts are (x) incurred with respect to post-petition fees and
assessments; and (y) approved by the Court, if incurred during the pendency of the bankruptcy
case.

      Name of Holder of Lien to which         JP Morgan Chase Bank NA
      this provision applies

      Address of Principal Residence         3111 Longhorn Circle, Manvel, TX 77578, .

      Debtor's Stated Value of Principal     $548,600.00
      Residence

      Description of all Liens Senior in     Estimated Amount
      Priority (List Holder and Priority)    Owed on This Lien
      JP Morgan Chase c/o Select             $715,551.53
      Portfolio Servicing

         Total Owed-- All Senior Liens       $715,551.53

     This paragraph 4C will only be effective if the debtor(s) do each of the following:

    Mail a “Lien Stripping Notice”, in the form set forth on the Court’s website, to the holder
     of the lien that is governed by this paragraph 4C. The Lien Stripping Notice must be
     mailed in a separate envelope from any other document.

    File a certificate of service reflecting that the Lien Stripping Notice was mailed by both
     certified mail, return receipt requested and by regular US mail to the holder of the lien at
     all of the following addresses, with the mailings occurring not later than 30 days prior to
     the hearing on this plan:

           The address for notices shown on any proof of claim filed by the holder.

           Any attorney representing the holder who has filed a request for notice in this
            bankruptcy case.

           If no address for notices is given on a proof of claim filed by the holder, on the last
            known address of the holder.
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                               CERTIFICATE OF SERVICE
On 08/21/2024, a copy of this notice was sent by certified mail, return receipt requested where
indicated, and by regular US mail to each of the following:

US Trustee
515 Rusk, #3516
Houston, TX 77002

Tiffany Castro
Chapter 13 Trustee
9821 Katy Freeway, Suite 590
Houston, Texas 77024

Robinson, Jennifer Louise
3111 Longhorn Circle
Manvel, TX 77578

Deutsche Bank National Trust Co
as Trustee for Long Beach Mortgage Loan Trust
700 Kansas Lane, MC 800
Monroe, LA 71203-4774

Via First Class Mail and Certified Mail, return receipt requested
9589 0710 5270 1291 1395 20

Select Portfolio Servicing as servicer for Deutsche Bank
c/o Michael Zientz
Parkway Office Center, Ste 900
14160 Dallas Pkwy
Dallas, TX 75254

Via First Class Mail and Certified Mail, return receipt requested
9589 0710 5270 1291 1395 37


Date: August 21, 2024                          /s/ Eric Southward
                                               Eric Southward
                                               S. Dist. Tx. No. 777564
                                               Attorney for Debtor
                                               Busby & Southward
                                               715 E Whitney St
                                               Houston, TX 77022
                                               Phone: (713) 974-8099
                                               Fax: (713) 974-1181
